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 5 Attorneys for:
   WILLIAM BOHAC
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 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 11-CRS-0323-JAM

11                                   Plaintiff,        STIPULATION AND ORDER RESETTING J&S
                                                       TO 1/20/15
12                           v.

13   WILLIAM BOHAC,
                                     Defendant.
14

15
                                                  STIPULATION
16
            1.      It is hereby stipulated by and between Assistant United States Attorney JARED DOLAN,
17
     and Attorney Dina L. Santos, Counsel for Defendant WILLIAM BOHAC, that the current date
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     scheduled for November 18, 2014, be vacated and the matter be continued to this Court’s criminal
19
     calendar on January 20, 2015, at 9:30 a.m. for judgment and sentencing.
20
     Dated: September 9, 2014                               BENJAMIN B. WAGNER
21                                                          United States Attorney

22
                                                            /s/ Jared Dolan
23                                                          JARED DOLAN
                                                            Assistant United States Attorney
24

25 Dated: September 9, 2014                                 /s/ Dina L. Santos
                                                            DINA SANTOS, ESQ.
26                                                          Attorney for William Bohac

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      Stip. & [Proposed] Order Continuing J&S           1
             Case 2:11-cr-00323-JAM Document 177 Filed 11/10/14 Page 2 of 2


 1

 2                                             ORDER

 3         IT IS SO FOUND AND ORDERED this 7th day of November, 2014

 4                                                   /s/ John A. Mendez

 5
                                                     HON. JOHN A. MENDEZ
 6                                                   UNITED STATES DISTRICT COURT JUDGE

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     Stip. & [Proposed] Order Continuing J&S     2
